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                             UNITED STATES BANKRUPTCY COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                 WEST PALM BEACH DIVISION

 In re:
                                                                         Case No.: 22-12790-EPK
           EXCELL AUTO GROUP, INC.                                       Chapter 7

                   Debtor.
 ------------------------------------------------------------------- /
 NICOLE TESTA MEHDIPOUR, as Chapter 7 Trustee for
 Excell Auto Group, Inc.                                               Adv. Pro. No. 23-01132-EPK

                   Plaintiff.

           -v-

 HI BAR CAPITAL, LLC, SPIN CAPITAL LLC,
 YISROEL HERBST, MORDECHAI DOV BER
 HERBST a/k/a MORDI HERBST, AVRUMI LUBIN
 a/k/a JOSH LUBIN, FRANKLIN CAPITAL FUNDING,
 LLC and FRANKLIN CAPITAL GROUP, LLC d/b/a
 WING LAKE CAPITAL,

                   Defendants.
 ------------------------------------------------------------------- /

     HI-BAR CAPITAL, LLC, MORDECHAI HERBST, AND YISROEL HERBST’S
                   MOTION FOR SUMMARY JUDGMENT

          Defendants, Hi-Bar Capital, LLC (“Hi-Bar”), Mordechai Herbst, and Yisroel Herbst,

(collectively, “Hi-Bar Defendants”), pursuant to Rule 7056, file the following Motion for

Summary Judgment as to Counts 1-3, 6-8, 17-25 and 28 and state the following in support thereof:

                                               INTRODUCTION

          In its Second Amended Complaint (“SAC”), Plaintiff seeks to avoid the Debtor’s

obligations under a voluntarily executed Revenue Purchase Agreement and subsequent settlement

agreements with Hi-Bar. Plaintiff also seeks damages from Hi-Bar, its agents, and other entities

based on allegations that they engaged in conduct violating Federal RICO statutes. Summary


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Judgment is proper in this case as to Counts 3, 6, 7, and 8 of the SAC as Plaintiff’s claims are all

based on the erroneous assertion the Hi-Bar Agreements are usurious. However, under New York

law (which controls), it is not.

        Next, in Counts 1, 2 and 28, Plaintiff seeks to void Hi Bar’s Revenue Purchase Agreement

based on language contained in an alleged assignment between Spin Capital to Franklin Capital.

However, as described below, not only does the plain language of that assignment contradict

Plaintiff’s claim, but perhaps more importantly, Hi Bar was not a party to that assignment and

never spoke to anyone at Franklin about the assignment or its transactions with the Debtor.

Therefore, the Franklin assignment has no bearing on the Debtor’s obligation to Hi Bar.

        Next, Hi Bar seeks summary judgment as to Count 17, which seeks to invalidate the Hi

Bar Revenue Purchase Agreement and subsequent settlement agreements based on “procedural

and substantive unconscionability” under New York law. But, as described below, those arguments

fail as a matter of law and not a shred of evidence has been disclosed supporting any such claims.

Instead, the Debtor was a sophisticated party who decided to enter into these settlement agreements

after Hi Bar asserted its legal rights.

        Finally, summary judgment should be granted as to the fraudulent transfer claims alleged

in Counts 18, 19, 20, 21, 22, 23, 24, and 25 because Hi Bar was simply enforcing a security interest

in compliance with Article 9 of the Uniform Commercial Code. § 726.109(5)(b).

                                     MEMORANDUM OF LAW

I.      Standard

        “The court shall grant summary judgment if the movant shows that there is no genuine

dispute as to any material fact and the movant is entitled to judgment as a matter of law.” Raza v.

All VIP Care, Inc., No. 23-CV-81481, 2024 WL 4611664, at *1 (S.D. Fla. Oct. 29, 2024) citing


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Fed. R. Civ. P. 56(a). “When a moving party has discharged its initial burden, the nonmoving party

must ‘go beyond the pleadings,’ and, by its own affidavits or by ‘depositions, answers to

interrogatories, and admissions on file,’ identify specific facts showing there is a genuine issue for

trial.” Id. citing Celotex Corp. v. Catrett, 477 U.S. 317, 323 (1986). “The nonmoving party ‘must

do more than simply show that there is some metaphysical doubt as to the material facts’ ”. Id.

citing Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 586 (1986). Under this

standard, summary judgment is appropriate.

II.     Summary Judgment Should be Entered as to Counts 3, 6, 7, and 8 Because the Hi Bar
        Contract are Not Loans or Subject to New York Usury Laws

        Counts 3, 6, 7, and 8 of SAC against the Hi-Bar Defendants are predicated on the erroneous

assertion that the Hi Bar Contracts constitute loans that charge illegal interest rates. However,

because the Hi Bar Contracts are not loans subject to New York usury laws, summary judgment is

proper as to each of those counts.

        As set forth in the Hi Bar Agreement, New York governs the analysis. [SMF at ¶ 2, § 4.5].

“A district court sitting in diversity applies the choice-of-law rules of the state in which it sits, in

this case Florida.” Viridis Corp. v. TCA Glob. Credit Master Fund, LP, 721 Fed. Appx. 865, 873

(11th Cir. 2018) citing Rando v. Gov't Employees Ins. Co., 556 F.3d 1173, 1176 (11th Cir. 2009).

“Under Florida law, contractual choice-of-law provisions are presumptively enforceable.” Id. “[A]

party may overcome this presumption by showing that a provision contravenes the strong public

policy of Florida or is unjust or unreasonable.” Id. However, deterring usury is not a “strong public

policy” that would allow a Court to disregard an agreed upon choice of law. Id. Therefore, New

York law applies to this analysis.

        Two well-established principles of New York law preclude a finding of usury in this case.

First, there is a strong presumption against usury, and second, a transaction cannot be usurious if

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it is not a loan. Given the fact that a strong presumption exists against a finding of usury, a party

claiming usury bears the heavy burden of proving it by clear and convincing evidence. Giventer v.

Arnow, 37 N.Y.2d 305, 309 (1975); Roopchand v. Mohammed, 154 A.D.3d 986, 988 (2d Dept.

2017). Further, “[i]f the transaction is not a loan, there can be no usury, however unconscionable

the contract may be.” LG Funding, LLC v. United Senior Props. of Olathe, LLC, 181 A.D.3d 664,

665 (2d Dept. 2020) (emphasis supplied). Under New York law, “[t]o constitute a loan, the

agreement must provide for repayment absolutely and at all events or that the principal in some

way be secured as distinguished from being put in hazard.” Cash4Cases, Inc. v. Brunetti, 167

A.D.3d 448, 449 (1st Dept. 2018). “Ordinarily, a loan consists of a face value, repayable (with

interest) over a finite period DEFINED in the transaction documents.” Pirs Capital, LLC v. D &

M Truck, Tire & Trailer Repair Inc., 69 Misc. 3d 457, 463 (N.Y. Sup. Ct. 2020)(emphasis in

original). “If a transaction instead has a non-finite term, that suggests that the transaction is instead

a purchase of future receivables.” Id.

        Further, under New York law, an MCA agreement, such as the Hi Bar Agreement in this

case, is not considered a loan because it is a purchase of receivables. Principis Capital, LLC v. I

Do, Inc., 201 A.D.3d 752, 754-55 (2d Dept. 2022). In reviewing whether an MCA agreement is a

true purchase of receivables, New York courts apply a three-factor test:

        The court must examine whether the plaintiff is absolutely entitled to repayment
        under all circumstances. Unless a principal sum advanced is repayable absolutely,
        the transaction is not a loan. Usually, courts weigh three factors when determining
        whether repayment is absolute or contingent: (1) whether there is a reconciliation
        provision in the agreement; (2) whether the agreement has a finite term; and (3)
        whether there is any recourse should the merchant declare bankruptcy.

Principis Capital, 201 A.D.3d at 754. Where all three factors are present, an agreement is an MCA

agreement not subject to usury laws. Principis Capital, 201 A.D.3d at 754 (granting summary

judgment to funder). The Southern District of New York, in a RICO action, has endorsed the

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Principis test when determining whether an MCA agreement is a loan transaction or purchase of

receivables. US Info. Group LLC v. EBF Holdings, LLC, 2023 WL 6198803, at *11 (S.D.N.Y.

Sept. 22, 2023) (dismissing RICO action where agreement complied with three factors). Applying

the Principis three-factor test, New York courts have rejected challenges to the type of agreement

used in the Hi Bar contract. See e.g. Samson MCA LLC v. Joseph A. Russo M.D. P.C./IV

Therapeutics PLLC, 219 A.D.3d 1126, 1128 (N.Y. App. Div. 2023); Hi Bar Capital, LLC v. Excell

Auto Group, Inc., 2023 N.Y. Slip Op. 31593(U), 3, 2023 WL 3431299, at *2 (N.Y.Sup.)(Trial

Court Order in prior action between Hi Bar and the instant Debtor finding that the Hi Bar

Agreement is “not void as a matter of criminal or civil usury, because the repayment terms, rather

than being absolute, are contingent.”).

       Here, the Hi-Bar contract provides that the parties intended the purchases of receivables as

opposed to a loan:

           Sale of Receipts. Merchant and [Hi-Bar Capital] agree that the Purchase Price
           under this Agreement is in exchange for the Purchased Amount, and that such
           Purchase Price is not intended to be, nor shall it be construed as a loan from
           HBC to Merchant. Merchant agrees the Purchase Price is in exchange for the
           Receipts pursuant to this Agreement and that it equals the fair market value of
           such Receipts… Payments made to HBC in respect to the full amount of the
           Receipts shall be conditioned upon Merchant’s sale of products and services,
           and the payment therefore by Merchant’s customers.
[SMF at ¶ 2, § 1.10]. On the first page of the contract, the parties also stipulated, “Merchant is

selling a portion of a future revenue stream to HBC at a discount, and is not borrowing money

from HBC, therefore there is no interest rate or payment schedule and no time period during which

the Purchase Amount must be collected by HBC.” . [SMF at ¶ 2] (emphasis supplied); see Colonial

Funding Network, Inc. v. Davincitek Corp., 2021 WL 39591 (N.Y. Co. Sup. Ct. 2021) (finding

MCA was not loan, in part where the parties expressly agreed “that they are entering into a




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purchase and sale of future receivables.”). Plaintiff’s claims ignore this clear and unambiguous

language. In addition, the factors set forth in Principis are all easily satisfied.

        a.      The Hi Bar Contract Contains Mandatory Reconciliation
                and Adjustment Provisions

        An MCA agreement is not a loan even if it contains a fixed remittance as an estimate of a

specified percentage of receivables where “the Agreement provided no liability in the event that

the seller’s business failed because it could not generate sufficient revenue to continue operating.”

IBIS Capital Group, LLC v. Four Paws Orlando LLC, 2017 WL 1065071 (Sup.Ct. Nassau Co.

March 10, 2017). Moreover, if the fixed payment amount is subject to a mandatory adjustment

through a reconciliation provision, which allows the merchant to request a reduction of the

remittance amounts to reflect diminutions of its receivables, that contractual mechanism further

demonstrates that the transaction is not a loan. Quicksilver Capital LLC v. Obioha, 2020 WL

2332754, (N.Y. Co. Sup. Ct. May 11, 2020) (“[t]he agreement contains a reconciliation provision

… provid[ing] that plaintiff is to collect future receivables based on amounts collected by

defendant during a particular calendar month. If defendant is not in default, she may once each

calendar month request that plaintiff reconcile the [monthly amount to be paid by defendant] to

more closely reflect defendant’s actual future receipts times the purchased percentage.”).

        The First Hi Bar Contract contains a mandatory reconciliation (i.e., to true up total

payments with receivables generated for the prior period) and adjustment (i.e., to make the regular

remittance more closely reflect the receivables) provisions:

        1.3 Reconciliation. As long as an Event of Default, or breach of this agreement, has
        not occurred, Merchant may request a retroactive reconciliation of the total
        Remittance Amount. All requests hereunder must be in writing to
        reconciliations@hibarcapital.com. Said request must include copies of all of
        Merchant’s bank account statements, credit card processing statements, and
        accounts receivable report outstanding if applicable, from the date of this
        Agreement through and including the date the request is made. … Such

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        reconciliation, if applicable, shall be performed by HBC within two (2) Business
        Days following its receipt of Merchant’s request for reconciliation by either
        crediting or debiting the difference back to, or from, Merchants Bank Account so
        that the total amount debited by HBC shall equal the Specific Percentage of the
        Future Receipts that Merchant collected during the requested month. …

        1.4 Adjustments to the Remittance. As long an Event of Default, or breach of this
        agreement, has not occurred, Merchant may give notice to HBC to request a
        decrease in the Remittance, should they experience a decrease in its Future
        Receipts.      All     requests   hereunder     must     be    in    writing    to
        reconciliations@hibarcapital.com and must include copies of all of Merchant’s
        bank account statements, credit card processing statements, and accounts
        receivable report outstanding from the date of this Agreement through and
        including the date the request is made. … The Remittance shall be modified to
        more closely reflect the Merchant’s actual receipts by multiplying the Merchant’s
        actual receipts by the Purchased Percentage divided by the number of business days
        in the previous (2) calendar weeks. …

[SMF at ¶ 2, § § 1.3 and 1.4]. (emphases supplied). “A reconciliation and an adjustment provision

help ensure that, on a retrospective basis, the merchant has not paid an amount that is

disproportionate to the receivables that the funder has actually acquired, and going forward, where

the merchant has experienced a steady decrease in its Daily Receipts, the merchant has the right to

request a modification of the amount of the fixed daily payment.” Lateral Recovery, LLC v. Capital

Merch. Services, LLC, 632 F. Supp. 3d 402, 458 (S.D.N.Y. 2022) (determining form agreements

that contain these provisions are “are agreements for the purchase of receivables when viewed in

their totality”).

        The above referenced provisions are not an illusory reconciliation provisions, rather

mandatory ones, since they use the term “shall.” Streamlined Consultants, Inc. v. EBF Holdings

LLC, 2022 WL 4368114, at *1 (S.D.N.Y. Sept. 20, 2022) (“Streamlined I”) (“the Funding

Agreement includes a reconciliation provision, which—contrary to Plaintiffs’ baseless argument

in opposition—provides that reconciliation is mandatory if requested by Streamlined

Consultants[,]” since it provided … Within four business days … [funder] shall reconcile …”);



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US Info. Group LLC v. EBF Holdings, LLC, 2023 WL 6198803, at *10 (S.D.N.Y. Sept. 22, 2023)

(“shall” in reconciliation provision makes it mandatory).

          In addition, while the Plaintiff has alleged that the reconciliation provision is illusory,

under New York law, a merchant is prohibited from challenging whether a reconciliation provision

is a sham, where, as here, the merchant never followed the provision and was denied a

reconciliation. [SMF at ¶ 12] See e.g., Mazzoni Ctr. v. LCF Group, Inc., 2024 WL 4821475, at *7

(E.D. Pa. Nov. 18, 2024)(“The Center never requested a reconciliation, so there is nothing to

suggest that LCF would refuse to honor these terms.”); Spin Capital, LLC v. Golden Foothill Ins.

Services, LLC, 2023 N.Y. Slip Op. 30594(U), 8, 2023 WL 2265717, at *3 (N.Y.Sup.) (“[I]t does

not appear that there is any basis for the allegation that the reconciliation process was a sham and

that the defendants would not have received an appropriate credit, because on the record before

the Court, it does not appear that the Counterclaim Plaintiffs even allege that they requested a

reconciliation or adjustment of the payments and that it was done improperly.”); US Info. Group

LLC v. EBF Holdings, LLC, 2023 WL 6198803, at *8 (S.D.N.Y. Sept. 22, 2023) (“The

reconciliation provision may have permitted plaintiffs to adjust their payments to Everest, but

plaintiffs do not allege that they invoked it or considered doing so.”). As such, Hi-Bar satisfies this

factor.

          b.     The Hi-Bar Contract Has No Fixed Duration

          “Ordinarily, a loan consists of a face value, repayable (with interest) over a finite period

DEFINED in the transaction documents.” Pirs Capital, LLC v. D & M Truck, Tire & Trailer Repair

Inc., 69 Misc. 3d 457, 463 (N.Y. Sup. Ct. 2020)(emphasis in original). “If a transaction instead has

a non-finite term, that suggests that the transaction is instead a purchase of future receivables.” Id.;

see also Streamlined Consultants, Inc. v. EBF Holdings LLC, 2022 WL 4368114, at *5 (S.D.N.Y.



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Sept. 20, 2022). Here, the Hi Bar Contract has indefinite terms since it expressly provides that it

is “in full force an effect until the entire Purchased Amount and any other amounts due are received

by HBC as per the terms of this Agreement.” [SMF at ¶ 2, § 1.2]. It also explicitly provides on the

first page for “no interest rate or payment schedule and no time period during which the Purchase

Amount must be collected by HBC.” [SMF at ¶ 2]. Moreover, the contract is subject to extension

over an indefinite duration because it is subject to regular adjustments under the reconciliation

provision. Principis Capital, 201 A.D.3d at 754 (“Concomitantly, as the amount of the monthly

payments could change, the term of the agreement was not finite.”). Thus, the duration is

“contingent upon [the merchant’s] actually generating sales and those sales actually resulting in

the collection of revenue.” IBIS Capital Group, LLC v. Four Paws Orlando LLC, 2017 WL

1065071, *2 (Sup.Ct. Nassau Co. March 10, 2017). “The existence of this uncertainty in the length

of the Agreement is an express recognition by the parties of the wholly contingent nature of this

Agreement.” Id. at * 3. As such, Hi-Bar satisfies this factor.

       c.      Bankruptcy Is Not an Event of Default

       An MCA is not a loan where, like here, there is “no contractual provision existed

establishing that a declaration of bankruptcy would constitute an event of default.” Principis

Capital, LLC v. I Do, Inc., 201 A.D.3d 752, 754, (2022); see also Streamlined Consultants, Inc. v.

EBF Holdings LLC, 2022 WL 4368114, at *5 (S.D.N.Y. Sept. 20, 2022). Not only is bankruptcy

not listed as an “Event of Default” under ¶ 3.1 of the Hi Bar Contract, but it specifically provides

on their front pages, “Merchant going bankrupt or going of business…in and of itself, does not

constitute a breach of this Agreement.” [SMF at ¶ 2] See e.g. Mazzoni Ctr. v. LCF Group, Inc.,

2024 WL 4821475, at *8 (E.D. Pa. Nov. 18, 2024)(Finding provision that stating that bankruptcy

was not event of default satisfied Principis factor). As such, Hi-Bar satisfies this final factor.



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       Since each of the Principis factors are satisfied, there is no legal basis for the Debtor’s

usury claims and each count predicated on the existence of usury (Counts 3, 6, 7, and 8) should be

summarily dismissed.

III.   Summary Judgment is Proper as to Counts 1, 2 and 28 Concerning the Franklin
       Assignment and Balance Transfer Agreement

       Count 1 seeks a declaration that the Franklin Assignment is effective, and that (i) the total

amount due from the Debtor to Spin as of October 21, 2021, was $1.00, which amount was

satisfied,” and (ii) “the First Spin Contract, Second Spin Contract, and Third Spin Contract and all

other obligations owed by the Debtor or Claims against the Debtor or Third Parties arising from

the Spin Contracts were assigned to Wing Lake.” [D.E. 75 at pp. 37].

       Summary judgment should be granted as to this count because it contradicts the clear and

unambiguous language of the Franklin Assignment and principles of contract interpretation. Under

Michigan law (which governs the Franklin Assignment), interpretation of assignments is governed

by general principles of contract law. Perkins v. Suburban Mobility Auth., 2022 Mich. App. LEXIS

5256, at *4-5 (Mich. App. Ct. Sept. 1, 2022). When an assignment contains broad/general language

followed by more specific language, or a list of specific property/rights to be assigned, courts will

generally interpret the assignment as limited to what is contained in the enumeration of property

or rights. Price v. Haynes, 37 Mich. 487, 489 (1877) (“The construction of [assignments] has been

that they transferred only what was enumerated in the schedule if one was actually attached.”).

Only if there is no limiting language in an assignment will Michigan courts find broad assignments

of all rights or property. Coots v. Chamberlain, 39 Mich. 565, 569 (1878).

       Here, the Assignment between Spin and Franklin, purports to sell:

       all outstanding obligations (“Obligations”) of Excell Auto Group, Inc. and each of
       its affiliates (collectively, “Company”) owing to Assignor under each of (i) the
       Revenue Purchase Agreement, dated as of June 1, 2021, by and between

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       Assignor and Company, and (ii) the Revenue Purchase Agreement, dated as
       of July 9, 2021, by and between Assignor and Company (collectively, the
       “Merchant Agreements”) and all rights of Assignor under any similar or related
       documents (including without limitation, any guaranties, security agreements,
       forbearance agreements, settlement agreements and judgments), including
       with respect to all collateral securing the obligations of Company under the
       Merchant Agreements or securing any guaranties in respect thereof (the documents,
       including the Merchant Agreements, are defined collectively as the “Merchant
       Documents”), for a purchase price of $1.00 (the “Purchase Price”).
[D.E. 75 at pgs. 86-95] (emphases supplied). In other words, the broad definition of “Obligations”

is specifically limited to the enumerated First and Second Spin Contracts (with absolutely no

mention of the Third Spin Contract entered in August 2021). While Obligations is expanded to

include “similar or related agreements,” that does not cover the Third Spin Contract, since the

general description “similar or related agreement” is given specific definition to include “any

guaranties, security agreements, forbearance agreements, settlement agreements and judgments.”

Id. There is no indication from the text or context that it was intended to include an entirely

different species of document, the deal documents for an entirely separate transaction, the Third

Spin Contract. .

       Since the Franklin Assignment limited “Obligations” to those under the First and Second

Spin Contract (the “Merchant Documents”), and excluded the Third Spin Contract, the

representations under paragraph 4 concerning “Obligations, the Merchant Documents and the

Third Party” referenced in SAC cannot be construed to cover or contain any representations

concerning the balance under the Third Spin Contract, let alone demonstrate any rights therein had

been assigned over to Franklin.

       Consequently, Count 2 must also be dismissed, since that claim seeking to set aside the

Balance Transfer Agreement dated October 27, 2023 (four days before the Franklin Assignment),

is based upon the contention that Spin allegedly sold its interests in, and balance of $2,114,312.50

under, the Third Spin Contract to Franklin. [D.E. 75 at ¶ 208]. Specifically, Plaintiff alleges, “Spin

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sold and assigned all outstanding Obligations and Merchant Documents of the Debtor and any

claims against the Debtor or Third-Parties which included the Third Spin Contract, prior to the Hi

Bar Transfer Agreement.” Id. at ¶ 210. But the Franklin Assignment said nothing about the Third

Spin Contract, let alone a representation that there was no balance thereunder. Nor did it need to,

since by that point Spin already executed the Balance Transfer Agreement to Hi Bar, and Hi Bar

entered the First Hi Bar Agreement with the Debtor Parties.

       Finally, the Court should dismiss Count 28 for promissory estoppel, which Plaintiff alleges

is made “under New York law” (rather than Michigan law, which governs the Franklin

Assignment). “To prevail on such a cause of action, the party advancing it must demonstrate that

the opposing party made a clear and unambiguous promise, upon which the former reasonably

relied, to its detriment.” Wilson v. Dantas, 29 N.Y.3d 1051, 1062 (2017). But any “promises” made

by Spin under the Franklin Assignment were made to Franklin, not to the Debtor in whose shoes

Plaintiff stands, which was not a party to the Franklin Assignment. See MatlinPatterson ATA

Holdings LLC v. Federal Express Corp., 87 A.D.3d 836 (1st Dept. 2011) (dismissing promissory

estoppel claim where only alleged promise was contained in a letter agreement between two other

parties). Moreover, Spin does not own or control Hi Bar and Hi Bar never spoke to Franklin at all.

[SMF at ¶ ¶ 8 and 21]. Accordingly, summary judgment should be granted.

IV.    Summary Judgment is Proper as to Count 17

       Count 17 seeks a declaration that the Hi-Bar Contract, the First Settlement Agreement, and

Second Settlement Agreement are “void and unenforecable” because they are “unconsionable”

under New York Law. Plaintiff alleges, once again, that the Hi-Bar Contract is a “criminally

usurious loan” and “[t]o the extent that the First Hi-Bar Contract, the First Settlement Agreement

and Second Settlement Agreement are voidable, Plaintiff seeks to have each of these agreements



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declared void and unenforceable.” SAC ¶ 398. First, this Count should be summarily dismissed

because under New York law, criminal usury is only an affirmative defense and cannot be the

basis of a declaratory judgment cause of action, including seeking to declare void an MCA

agreement. Paycation Travel v. Glob. Merch. Cash, 192 A.D.3d 1040, 1041 (2d Dept. 2021)

(“General Obligations Law § 5-521 bars a corporation such as the plaintiff from asserting usury in

any action, except in the case of criminal usury as defined in Penal Law § 190.40, and then only

as a defense to an action to recover repayment of a loan, and not as the basis for a cause of action

asserted by the corporation for affirmative relief.”) (citations omitted; emphasis supplied);

Colonial Funding Network, Inc. for TVT Capital, LLC v. Epazz, Inc., 252 F. Supp. 3d 274, 279

(S.D.N.Y. 2017)(“New York law [] [only] allows a corporation to assert criminal usury as a

defense, but not as a claim for affirmative relief.”) As such, there is no basis for a declaratory

judgment that the Hi-Bar Contract is criminally usurious. Moreover, even if a declaratory judgment

action was proper, the Hi Bar MCA satisfies the Principis test.

         Furthermore, as to the claim that the Settlement Agreements should be declared void as

being “unconscionable,” New York law provides:

         A determination of unconscionability generally requires a showing that the contract
         was both procedurally and substantively unconscionable when made -- i.e., some
         showing of an absence of meaningful choice on the part of one of the parties
         together with contract terms which are unreasonably favorable to the other party.
Gillman v. Chase Manhattan Bank, 73 N.Y.2d 1, 10 (1988); Command Components Corp. v. HWJ

Eng’g & Surveying, PLLC, 189 A.D.3d 990, 992 (2d Dept. 2020).1 Here, the SAC claims the Hi

Bar Settlements Agreements are substantively unconscionable, but there is simply no evidence



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 “The doctrine of unconscionability rarely applies in a commercial setting, where the parties are presumed to have
equal bargaining power.” Id. A party to a financing agreement “is bound by the terms of his contract as made and
cannot be relieved from his default, if one exists, in the absence of oppressive or unconscionable conduct on the latter’s
part.” FGH Contracting Co. v. Weiss, 185 A.D.2d 969, 971 (2d Dept. 1992) (citation, quotation and alterations
omitted).

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that the Debtor entered these contracts with “an absence of meaningful choice,” subject to

oppressive conduct, or without the commercial sophistication to understand what it agreed to.

Dabriel, Inc. v. First Paradise Theaters Corp., 99 A.D.3d 517, 521 (1st Dept. 2012) (“All told,

plaintiffs failed to plead anything regarding an alleged lack of meaningful choice … and it is

noteworthy that plaintiffs were free to walk away from the lease negotiations at any time and rent

space elsewhere.”) (citation and quotation marks omitted); See also Cooper Dev. Co. v. Friedman,

1994 WL 62846, at *4 (S.D.N.Y. Feb. 22, 1994), aff'd sub nom. Cooper Dev. v. Friedman, 43 F.3d

1458 (2d Cir. 1994)(“Under New York law, threats to enforce a party's legal rights under a

contract—or even that party's interpretation of its rights—cannot constitute a wrongful threat

sufficient to establish a claim of economic duress.”). Here, the Debtor was not required to sign

these agreements. Instead, the Debtor chose to. Given the lack of any evidence to support this

claim, summary judgment should be granted.

V.     Summary Judgment Should be Granted as to the The Fraudulent Conveyance Counts
       Because Any Transfers Resulted from the Enforcement of Hi Bar’s Security Interest

       Counts 18, 19, 20, 21, 22, 23, 24, and 25, assert various fraudulent conveyance claims

against Hi-Bar under federal bankruptcy and Florida state law. However, the Hi Bar obligation is

not subject to a fraudulent transfer attack because “[a] transfer is not voidable under s.

726.105(1)(b) or s. 726.106 if the transfer results from … [e]nforcement of a security interest in

compliance with Article 9 of the Uniform Commercial Code.” § 726.109(5)(b) [SMF at ¶ 20]. To

be sure, “[a] debtor's payment to a secured creditor is not fraudulent even though its natural effect

was to hinder or delay the non-preferred creditors.” Wiand v. Wells Fargo Bank, N.A., 86 F. Supp.

3d 1316, 1327 (M.D. Fla. 2015), aff'd sub nom. Wiand v. Wells Fargo Bank, N.A., Inc., 677 Fed.

Appx. 573 (11th Cir. 2017) citing Sunshine Resources, Inc. v. Simpson, 763 So.2d 1078, 1081 (Fla.




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4th DCA 1999) (quoting Jacksonville Bulls Football Ltd. v. Blatt, 535 So.2d 626, 629 (Fla. 3d

DCA 1988)).

                                        CONCLUSION

       Based on the forgoing, the Hi-Bar Defendants respectfully requests this Court grants its

Motion for Summary Judgement and award all other such relief deemed necessary and proper.


                                                    Respectfully submitted,

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                                   CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on December 27, 2024, we electronically filed the foregoing

document with the Clerk of the Court and provided service to all counsel of record using CM/ECF.



                                                    /s/ Matthew P. Leto
                                                    MATTHEW P. LETO




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